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               EXHIBIT D
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


SAMANTHA ALARIO, HEATHER                     Lead Case No.
DIROCCO, CARLY ANN GODDARD,                  9:23-cv-00056-DWM
ALICE HELD, and DALE STOUT,                  CV 23–56–M–DWM

            Plaintiffs,                      Member Case No.
                                             CV 23–61–M–DWM
      v.
                                             DECLARATION OF ALICE HELD
AUSTIN KNUDSEN, in his official              IN SUPPORT OF PLAINTIFFS’
capacity as Attorney General of the State    MOTION FOR PRELIMINARY
of Montana,                                  INJUNCTION

            Defendant.
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I, Alice Held, declare as follows:

      1.     I make this declaration from personal knowledge.

      2.     I am a student at the University of Montana, studying applied human

physiology with a specialty in exercise metabolism. I live in Missoula.

      3.     I joined TikTok during the Covid-19 pandemic as a creative outlet to

share my outdoor adventures with the world. I fell in love with creating videos about

my passions—long-distance running, hiking, mountain climbing, biking, and

camping. Over time, my videos grew in popularity and eventually went “viral” when

I documented camping for a month during the pandemic. I believe the public

enjoyed these videos because people were in need of inspiration and wanted to see

new ways of living during this difficult time.

      4.     I now have over 216,000 followers on TikTok. I continue to create

videos about my outdoor adventures, showcasing Montana’s incredible natural

beauty. I also use TikTok to connect with others in my community and to discuss

important issues, such as exercise, mental health, and sobriety. I believe the app is

a valuable resource that can provide a sense of hope and motivation to those who do

not have access to traditional therapy. There is also a lot of great fitness content on

TikTok that can be done at home or outdoors for those who do not have the means

to purchase expensive gym memberships or sporting equipment.




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      5.    I have found greater success on TikTok than other social media apps in

terms of gaining followers. For example, while I have over 216,000 followers on

TikTok, I only have about 7,000 followers on Instagram. I believe that the TikTok

algorithm has allowed me to access a broader audience than I have on other apps.

      6.    I use TikTok more for my own creative expression and connecting with

others than I do for income generation. However, I do generate some income from

the app through brand deals.

      7.    If the Montana TikTok ban is allowed to take effect, I believe it would

violate my and other Montanans’ First Amendment right to free speech. I think

social media can be a powerful tool for connection, hope, and inspiration. Through

TikTok, I have had experiences that have shown me that we have a lot more in

common than we would ever think. And I believe that discovering that proximity

strengthens our humanity.



      I declare under penalty of perjury that the foregoing is true and correct.



Signed in Missoula, Montana this 2nd day of July, 2023.




                                                           Alice Held



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